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 1
                                                                    The Honorable Richard A. Jones
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                            UNITED STATES DISTRICT COURT FOR THE
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9
10     UNITED STATES OF AMERICA,                               NO. CR20-151 RAJ
11                              Plaintiff
                                                               STIPULATED MOTION TO
12
                                                               AUTHORIZE CLERK OF COURT TO
13                         v.                                  DISBURSE FUNDS
14     EPHRAIM ROSENBERG,
                                                               Note on Motion Calendar: July 21, 2023
15                              Defendant.
16
17
             The United States of America and defendant Ephraim Rosenberg jointly move for
18
19 an order permitting the Clerk of Court to disburse funds from the Registry of the Court.
20           On July 14, 2023, the Court sentenced Rosenberg to two years of probation,
21
     including 12 months of home detention, and ordered him to pay a fine of $100,000 and a
22
23 special assessment of $100. Dkt. 199. Before sentencing, Defendant paid $100,000 into
24 the Registry of the Court, to be applied to his/her Criminal Monetary impositions upon
25
   entry of the Judgment. See Dkt. 189 & Receipt.
26
27        Accordingly, the parties move for an order under Local Civil Rule 67(b) (made

28 applicable to criminal cases by Local Criminal Rule 1(a)), authorizing the Clerk of Court

      Stipulated Motion to Authorize Clerk to Disburse Funds                  UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      United States v. Rosenberg; No. CR20-151 RAJ - 1
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
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 1
     to disburse $100,000 principal, plus all accrued interest, to be applied to the fine imposed
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     in the Criminal Judgment in this case. See Dkt. 199.
 3
 4           DATED: July 21, 2023
 5
             Respectfully submitted,
 6
                                                        TESSA M. GORMAN
 7                                                      Acting United States Attorney
 8
                                                        s/ Miriam R. Hinman
 9                                                      MIRIAM R. HINMAN
10                                                      Assistant United States Attorney
11
12                                                      s/ Peter Offenbecher
                                                        JACOB LAUFER
13
                                                        PETER OFFENBECHER
14                                                      Attorneys for Defendant Ephraim Rosenberg
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      Stipulated Motion to Authorize Clerk to Disburse Funds                     UNITED STATES ATTORNEY
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